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 4
   Attorney for Defendant
 5 THANG QUOC BUI
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,                        )      No. CR S 05 0542 GEB
                                                    )
10                 Plaintiff,                       )      STIPULATION AND ORDER
                                                    )      CONTINUING STATUS CONFERENCE
11        v.                                        )      AND EXCLUDING TIME
                                                    )
12 THANG QUOC BUI, et al.,                          )
                                                    )
13                 Defendants.                      )
   ____________________________________)
14
          It is hereby stipulated and agreed to between the United States of America by and through
15
   Matthew C. Stegman, Assistant United States Attorney, and defendant THANG QUOC BUI, by
16
   and through his counsel, Timothy E. Warriner that the status conference presently set for
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   December 3, 2010, be continued to December 17, 2010. Said request is for the purpose of
18
   completing matters relating to possible entry of plea.
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          It is further stipulated that the period of time from December 3, 2010 through and
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   including December 17, 2010, be excluded in computing the time within which trial must
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   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
22
   Code T4 for preparation of counsel.
23
   DATED: December 1 2010                   /s/ Tim Warriner
24                                          Attorney for Defendant, THANG QUOC BUI
25
     DATED: December 1, 2010            /s/ Matthew C. Stegman, Assistant United States Attorney
26
27
28                                                 1
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 1                                    ORDER
 2       IT IS SO ORDERED.
 3 Dated: December 2, 2010
 4
 5                                  GARLAND E. BURRELL, JR.
 6                                  United States District Judge

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